Case 1:18-mj-00055-DI\/|L Document 2 Filed 01/19/18 Page 1 of 6 Page|D #: 2

AO 91 (Rev. ll/l l) Criminal Complaint

UNITED STATES DISTRICT COURT
for the

Southem District of Indiana

 

 

 

United States of America )
v. )
) Case No.
GABR|EL MCQuAY § 1118-mi-0055
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 18, 2018 in the county of Marion in the
Southem District of |ndiana , the defendant(s) violated:
Code Section O]j"ense Descrl`ption
21 U.S.C. § 841(a)(1), (b)(1)(B) Possession with |ntent to Distribute 100 Grams or More of Substance

Containing Heroin

This criminal complaint is based on these facts:

See attached affidavit

il Continued on the attached sheet.
:Z/ \ : r* il

, y Complain;nt ’s signature

 

David M. Sa|ley, DEA Task Force Officer

 

Printed name and title

Sworn to before me and signed in my presence

 

Date: 01/19/2018 @M/¢_%/L/
w ' -sztg;/s,-gm,ure
City and state: lndianapo|is, |ndiana Debra McVioker Lynch, U.S. Magistrate Judge

 

Printea' name and title

Case 1:18-mj-00055-DI\/|L Document 2 Filed 01/19/18 Page 2 of 6 Page|D #: 3

AFFIDAVIT IN SUPPORT OF APPLICATION

I, David M. Salley, a Task Force Officer (TFO) with the United States Drug Enforcement
Administration (DEA), being duly sworn, state as follows:

I. INTRODUCTION & BACKGR()UND OF INVESTIGATION

l. I am currently a Task Force Officer with the Drug Enforcement Administration
(DEA) assigned to the Indianapolis District Office (IDO) HIDTA Task Force Group 52. I have
been employed as a DEA Task Force Officer (TFO) since May 2017. l have been employed With
the Indiana State Police (ISP) as a law enforcement officer for over ten years and have Worked
controlled substance investigations for over two years. My primary duty as a TFO is to
investigate criminal violations of the federal controlled substances laws, including, but not
limited to, Title 21, United States Code, Sections 841, 843, and 846.

2. During my employment as a law enforcement officer, I have received specialized
training in the means and methods by Which drug traffickers unlawfully manufacture, import,
distribute (and possess With intent to distribute) controlled substances, including, but not limited
to, the use of telephones and numerical codes and code words to conduct drug trafficking
activities. I have also received specialized training in the Ways in Which international drug
trafficking organizations manufacture and smuggle controlled substances into the United States,
as Well as the means and methods by Which international drug trafficking organizations export
the proceeds of their drug trafficking activities

3. During my employment as a law enforcement officer, I have received specialized
training in the enforcement of laws concerning the trafficking of controlled substances I have
also received training regarding, and personally participated in, various types of investigative

activity, including, but not limited to, the following: (a) physical surveillance; (b) the debriefing

Case 1:18-mj-00055-DI\/|L Document 2 Filed 01/19/18 Page 3 of 6 Page|D #: 4

and/or interviewing of defendants, witnesses, confidential sources and other individuals who
have knowledge concerning the unlawful trafficking in controlled substances; (c) undercover
operations; (d) the execution of search warrants; (e) the consensual monitoring and recording of
conversations; and, (f) the handling and maintenance of evidence.

II. PRELIMINARY STATEMENT & BASIS OF INFORMATION

4. This Affidavit is made in support of a complaint for Target Gabriel McQUAY. As
set forth below, probable cause exists to believe that MCQUAY possessed with intent to
distribute controlled substances in violation of 21 U.S.C. § 84l(a)(l).

5. Except as otherwise noted, the information set forth in this Affidavit has been
provided to me by members of the DEA Special Agents, Task Force Officers, or other law
enforcement agents or officers. Unless otherwise noted, whenever in this Affidavit I assert that a
statement was made, the information was provided by another law enforcement officer (who may
have had either direct or hearsay knowledge of the statement) to whom I have spoken or whose
report I have read and reviewed Likewise, information resulting from physical surveillance,
except where otherwise indicated, does not necessarily set forth my observation, but rather has
been provided directly or indirectly through other DEA Special Agents, TFOs, Indianapolis
Metropolitan Police Department (IMPD), Indiana State Police (ISP) officers, or other law
enforcement officers who conducted the surveillance Likewise, any information pertaining to
vehicles and/or registrations, personal data on subj ects, and record checks has been obtained
through the Indiana Data and Communications System or the National Crime Information Center
computers.

6. Because this Affidavit is being submitted for the limited purpose of securing a

complaint, l have not included each and every fact known to me concerning this investigation l

Case 1:18-mj-00055-DI\/|L Document 2 Filed 01/19/18 Page 4 of 6 Page|D #: 5

have set forth only the facts that I believe are necessary to establish the foundation for said
application.
III. FACTS & CIRCUMSTANCES REGARDING PROBABLE CAUSE

7. In or around Fall 2017, the DEA initiated an investigation into McQUAY’s
suspected heroin trafficking in the Indianapolis, Indiana, area. On numerous occasions
throughout the investigation, law enforcement observed MCQUAY at 6904 Michigan Road,
Indianapolis, Indiana (the Michigan Road residence), his suspected residence This single-family
residence is located within the Southem District of Indiana.

8. On or about January 16, 2018, the Honorable Debra McVicker Lynch signed a
search warrant for the Michigan Road residence (Cause No. l:18-mj-00036). My colleagues and
l executed this search warrant on or about January 18, 2018.

9. During execution of the search warrant, law enforcement found multiple items of
interest to the investigation inside of the Michigan Road residence, including:

a. Approximately nine (9) ounces of suspected heroin1 (wrapped up in dirty
clothes next to washer and dryer) which field-tested positive for the presence of heroin
and fentanyl;

b. Plastic sandwich baggies (inside of drawer in the kitchen);

c. Two (2) digital scales2 (inside drawers in kitchen and on top of the

refrigerator in the kitchen);

 

1 Based on my training and experience and knowledge of this investigation, nine ounces of heroin is a distribution-
level quantity and significantly exceeds a user-level quantity.

2 Based on my training and experience and knowledge of this investigation, I know that drug traffickers frequently
use plastic sandwich baggies to package drugs for resale In addition, drug traffickers use digital scales to process
drugs for resale

Case 1:18-mj-00055-DI\/|L Document 2 Filed 01/19/18 Page 5 of 6 Page|D #: 6

d. Energy drink bottle with a false compartment (inside refrigerator drawer in
the kitchen);
e. Western Reserve Group Insurance mail addressed to MCQUAY at the

address 6904 Michigan Road (inside of drawer in the kitchen); and,
f. A Glock model 22, .40 caliber, handgun, serial number SZA306 (located

under main living room couch).

10. There was no one in the Michigan Road residence when law enforcement
approached it to execute the search warrant

ll. Just prior to executing the search warrant, law enforcement observed MCQUAY
exit and depart the Michigan Road residence in a green 2002 GMC, license plate 241 SW. Law
enforcement surveillance officers observed MCQUAY drive southbound on Michigan Road
from his residence A check through Indiana Bureau of Motor Vehicles confirmed MCQUAY’s
driver’s license was suspended. Due to this fact, Indiana State Police Trooper Christopher Waltz
(in a marked police vehicle) conducted a traffic stop of MCQUAY’s vehicle

l2. During the traffic stop, Indiana State Police K-9 Trooper Susan Rinschler utilized
her K-9 partner to conduct an open air inspection of MCQUAY’s vehicle The Indiana State
Police K-9 gave a positive indication for the odor of narcotics in the vehicle A search of the
vehicle was conducted

13. Officers asked MCQUAY to exit his vehicle and advised him of his Miranda
wamings. After acknowledging that he understood his rights, MCQUAY stated (among other
things) the following:

a. MCQUAY resided at the Michigan Road residence

Case 1:18-mj-00055-DI\/|L Document 2 Filed 01/19/18 Page 6 of 6 Page|D #: 7

b. MCQUAY had approximately two (2) ounces of heroin at the Michigan

Road residence wrapped up in dirty clothes.

c. There was a Glock pistol under the couch in the living room.

14. MCQUAY also asked who gave him up (i.e., who informed police of his drug
trafficking activities). MCQUAY stated that he was not worried, because it (i.e., the name of the
cooperator/informant) would be on the paperwork.

15. Later on, a follow up interview was conducted at the DEA office During the
interview, which was recorded, MCQUAY affirmed the statements referenced above and
provided details regarding his drug trafficking activities.

IV. CONCLUSION

16. Based on the foregoing information, l believe that there is probable cause to
believe that Gabriel MCQUAY possessed with intent to distribute controlled substances in the
Southern District of Indiana, in violation of 21 U.S.C. § 84l(a)(l).

Mcer

Drug Enforcement Administration

Subscribed and sworn to before me this /7 th day of January, 2018.

M/VMW
Debra McVicker'Lynch
United States Magistrate Judge

Southem District of Indiana

